Case: 2:20-cv-04813-ALM-KAJ Doc #: 176 Filed: 05/09/22 Page: 1 of 12 PAGEID #: 2853



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


 EMPLOYEES RETIREMENT SYSTEM
 OF THE CITY OF ST. LOUIS, et ai,

                Plaintiffs,                       :    Case No. 2:20-cv-4813

         v.                                       :    Chief Judge Algenon L. Marbley

                                                       Magistrate Judge Kimberly A. Jolson
 CHARLES E, JONES, et aL9

                Defendants,

 FIRSTENERGY CORP.,

                Nominal Defendant.

                  ORDER OF PRELIMINARY SETTLEMENT APPROVAL

        This matter is before the Court on Plaintiffs' UnopposedMotion for PreliminarySettlement

 Approval (ECF No. 170). Plaintiffs' Motion is GRANTED with the modification noted below.

                     I. BACKGROUND OF PROPOSED SETTLEMENT


        According to the Consolidated Complaint, this shareholder derivative action seeks to hold

 current and former FirstEnergy Directors and Officers accountable for their rolesin orchestrating

 a large bribery, racketeering, and pay-to-play scheme with Ohio politicians, at substantial cost to

 the Company's long-term interests. (ECF No. 75 ffi| 1-14). The Complaint asserts a federal cause

 of action for violation of Section 14(a) of the Securities Exchange Act of 1934 and Rule 14a-9

 thereunder, as well as state law claims for breach of fiduciary duty, unjust enrichment, corporate

 waste, and contribution and indemnification. On May 11, 2021, the Court found that Plaintiffs'

 allegations pass muster and denied Defendants' motion to dismiss. (ECF No. 93).

        There are two other shareholder derivative actions pending against FirstEnergy in relation

 to the alleged bribery scandal. One is in the Northern District of Ohio under the caption Miller v.

                                                 -1-
Case: 2:20-cv-04813-ALM-KAJ Doc #: 176 Filed: 05/09/22 Page: 2 of 12 PAGEID #: 2854



 Anderson, Case No. 5:20-cv-1743-JRA (the "Northern District Action"); and the other is in the

 Summit County Court of Common Pleas under the caption In re FirstEnergy Corp., Stockholder

 Derivative Litigation, Case No. CV-2020-07-2107 (the"Ohio State Court Action").1

          All parties in all shareholder derivative cases, as well as the Special Litigation Committee

 of FirstEnergy's Board of Directors, have entered into a Stipulation and Agreement of Settlement

 (the "Stipulation"), dated March 11, 2022. (ECF No. 170-3). The Stipulation sets forth the terms

 and conditions of a proposed global settlement of the shareholder derivative cases, subject to the

 Court's review and approval.

          The proposed settlement resulted from a lengthy mediation before retired United States

 District Judge Layn R. Phillips. (ECF No. 170 at 10). Under the proposed terms, FirstEnergy will

 obtain a $180 million recovery funded by the Company's insurers —which Plaintiffs represent is

 "among the largest derivative recoveries ever achieved" in the United States and "three times

 greater than any prior derivative recovery in the history of the Sixth Circuit." (Id. at 2, 12).

 Moreover, FirstEnergy will commit to a series of internal governance reforms, crafted with the

 assistance ofColumbia Law Professor and corporate governance expert Jeffrey Gordon. (Id. at 2).

 Those reforms include the departure of six Directors, active Board oversight of FirstEnergy's

 political spending and lobbying activities, and specific disclosures in the annual proxy statements

 issued to shareholders. (Id. at 12). Professor Gordon states the governance reforms "will

 significantly improve shareholder welfare at FirstEnergy" by giving "assurance . . . against a

 recurrence of the conduct" that precipitated this case. (ECF No. 170-5 U 22). These settlement

 terms now stand before the Court for preliminary approval.




 1 For clarity, these shareholder derivative actions are wholly distinct from other litigation involving FirstEnergy—
 including the class action for securities fraud captioned In re FirstEnergy Corp. SecuritiesLitigation, Case No. 2:20-
 cv-3785, which also is pending before this Court.

                                                          -2-
Case: 2:20-cv-04813-ALM-KAJ Doc #: 176 Filed: 05/09/22 Page: 3 of 12 PAGEID #: 2855




                                  II. APPLICABLE STANDARD


         Under Federal Rule of Civil Procedure 23.1(c), court approval and shareholder notice are

 required for the settlement of any derivative case. The typical approval process tracks that of a

 class action settlement, which entails: "1) preliminary approval of the proposed settlement at an

 informal hearing; 2) dissemination ofmailed and/or published notice to all affected class members;

 and 3) a formal fairness hearing at which interested parties may comment on the proposed

 settlement." Brent v. Midland Funding, LLC, 2011 WL 3862363, at *12 (N.D. Ohio Sept. 1,2011)

 (citing Williams v. Vukovich, 720 F.3d 909, 920-21 (6th Cir. 1983)); see also In re: Regions

 Morgan Keegan Sec, 2015 WL 11145134, at *2 (W.D. Tenn. Nov. 30,2015) ("The procedure for

 approving settlements in derivative actions is the same as class actions.").

         At the preliminary approval stage, "the Court decides whether notice of the proposed

 settlement would be appropriate, but makes no final determination about the settlement's fairness."

 Id. at *4. "Ifthe proposed settlement appears to be the product of serious, informed, non-collusive

 negotiations, has no obvious deficiencies, does not improperly grant preferential treatment to class

 representatives or segments of the class, and falls with the range of possible approval, then the

 Court should direct that notice be given to the class members ofa formal fairness hearing, at which

 evidence may be presented in support of and in opposition to the settlement." In re Telectronics

 Pacing Sys., Inc., 137 F. Supp. 2d 985, 1015-16 (S.D. Ohio 2001) (quoting Manualfor Complex

 Litig. § 30.44 (2d ed. 1985)). The court "is not obligated to, nor could it reasonably, undertake a

 full and complete fairness review" at the preliminary approval stage; that analysis occurs on final

 approval. In re Inter-OpHip Prosthesis Liab. Litig., 204 F.R.D. 330,350 (N.D. Ohio 2001).

        In the Sixth Circuit, "[settlements are welcome" in shareholder derivative cases,

 especially, "because litigation is 'notoriously difficult and unpredictable.'" Granada Invs., Inc. v.
Case: 2:20-cv-04813-ALM-KAJ Doc #: 176 Filed: 05/09/22 Page: 4 of 12 PAGEID #: 2856



 DWG Corp., 962 F.2d 1203,1205 (6th Cir. 1992) (quotingMaher v. Zapata Corp., 714 F.2d 436,

 455 (5th Cir. 1983)). "Absent evidence of fraud or collusion, such settlements are not to be trifled

 with." Id. (citing Priddy v. Edelman, 883 F.2d 438,447 (6th Cir. 1989)).

                   III. PRELIMINARY FINDINGS AND CONCLUSIONS


        The Court has reviewed and considered the Stipulation and all its exhibits, including the

 proposed notices and proposed final judgment. (ECF No. 170-3). From that review, the Court

 determines that the proposed settlement meets the standard articulated above and that preliminary

 approval is warranted.

        First, the proposed settlement was reached through serious arms-length negotiation,

 facilitated by a reputable independent mediator. The negotiations followed a contested motion to

 dismiss and a voluminous exchange of document discovery. On these facts, "the proposed

 settlement appears to be the product ofserious, informed, non-collusive negotiations"—at least on

 preliminary review. Telectronics, 137 F. Supp. 2d at 1015-16 (internal quotation marks omitted);

 see also Bert v. AK Steel Corp., 2008 WL 4693747, at *2 (S.D. Ohio Oct. 23, 2008) ("The

 participation of an independent mediator in settlement negotiations virtually [e]nsures that the

 negotiations were conducted at arm's length and without collusion between the parties.").

        Second, the proposed settlement represents a substantial (though not complete) recovery

 for FirstEnergy, the real party at interest. The monetary component, at $180 million, measures

 favorably against other shareholder derivative settlements and would have a significant effect on

 the Company's financial position. Moreover, the Company's insurance policies, which are the

 main source of recoverable assets, are being eroded by legal costs as this derivative action

 continues, meaning the ultimate recovery might be higher now than at the end of a case tried to

 verdict. Added value is found in the corporate governance reforms, which aim to prevent future
Case: 2:20-cv-04813-ALM-KAJ Doc #: 176 Filed: 05/09/22 Page: 5 of 12 PAGEID #: 2857



 improprieties in the Company's political activity and forestall potential liabilities and harms

 therefrom. By demonstrating a commitment to transparency and oversight, the reforms also would

 begin to repair FirstEnergy's non-pecuniary reputational damages. Furthermore, the Court

 recognizes that certainty and finality are beneficial to FirstEnergy, whereas continued litigation

 entails inherent uncertainties that could weigh on the Company for years. Thus, the proposed

 settlement terms"fall[] with the rangeof possibleapproval," pending fulleranalysisat the fairness

 hearing. Telectronics, 137 F. Supp. 2d at 1015-16 (internal quotation marks omitted).

         In one respect, the Court will deviate from the parties' requested approval. The parties seek

 "a customary prosecution bar enjoining Plaintiffs, FirstEnergy, or anyone else from commencing

 or prosecuting any other action asserting any of the claims alleged in this Action—including the

 Northern District Action and the State Court Action—pending this Court's determination as to

 whether final approval should be granted." (ECF No. 170 at 26). However, the parties do not

 identify the authority by which this Court could stay related cases in co-equal courts of competent

 jurisdiction. Nor is it an obvious proposition, in this unique posture. Therefore, the prosecution bar

 will apply only to this case and to others not yet commenced; it will not extend to the pending

 Northern District and State Court Actions. If the parties wish to stay the other active cases, they

 may move in those respective courts. Alternatively, they may file a motion to alter or amend this

 Order, identifying the specific authority by which one court might enter a global prosecution bar

 over the objections of another court.

        In summary, preliminary approval is appropriate, and it is so granted. The proposed

 settlement resulted from serious mediation, and its terms contain no facial defects that would

 foreclose approval. This is enough for the parties to commence shareholder notice and advance to

 a fairness hearing. Of course, preliminary approval "is only the first step in an extensive and



                                                  -5-
Case: 2:20-cv-04813-ALM-KAJ Doc #: 176 Filed: 05/09/22 Page: 6 of 12 PAGEID #: 2858



 searching judicial process, which may or may not result in final approval of a settlement in this

 matter." Inter-Op, 204 F.R.D. at 337. Any findings on whether the proposed settlement is in fact

 fair, reasonable, and adequate are reserved until the fairness hearing, where the Court will conduct

 further inquiry informed by shareholders' perspectives.

                             IV. ORDER OF PRELIMINARY APPROVAL


          Having found that sufficient grounds exist for entering this preliminary approval, the Court

 hereby ORDERS as follows:

          1.       The Court preliminarily approves the Settlement on the terms set forth in the

 Stipulation,2 subject to further consideration ata hearing tobeheld before theCourt on Thursday,

 July 21, 2022, at 9:00 a.m., in Courtroom 1, Room 331, of the United States District Court for

 the Southern District of Ohio, 85 Marconi Boulevard, Columbus, Ohio 43215 (the "Settlement

 Fairness Hearing"), to, among other things: (i) determine whether the proposed Settlement, on the

 terms and conditions provided for in the Stipulation, is fair, reasonable, and adequate, and should

 be approved by the Court; (ii) determine whether the Judgment, substantially in the form attached

 as Exhibit F to the Stipulation, should be entered dismissing the Southern District Action with

 prejudice, and settlingand releasing, and barringand enjoiningthe commencement or prosecution

 of any action asserting, any and all Released Plaintiffs' Claims against the Released Defendants'

 Persons, as set forth in the Stipulation; (iii) determine whether the application for a Fee and

 Expense Award to Plaintiffs' Counsel should be approved; and (iv) rule on such other matters as

 the Court may deem appropriate.

          2.       The Court expressly reserves the right to adjourn the Settlement Fairness Hearing

 without any further notice other than an announcement at the Settlement Fairness Hearing. The


 2This Order incorporates by reference the definitions in the Stipulation and, unless otherwise defined in this Order,
 all capitalized terms used in this Order shall have the same meaning as set forth in the Stipulation.
Case: 2:20-cv-04813-ALM-KAJ Doc #: 176 Filed: 05/09/22 Page: 7 of 12 PAGEID #: 2859



 Court may decide to hold the Settlement Fairness Hearing by telephone or video conference

 without notice to the FirstEnergy stockholders. Ifthe Court later orders that the Settlement Fairness

 Hearing be conducted telephonically or by video conference, that decision will be posted on the

 "Investor Relations" portion of FirstEnergy's website. Any Current FirstEnergy Stockholder (or

 his, her, or its counsel) who wishes to appear at the Settlement Fairness Hearing should consult

 the Court's docket and the "Investor Relations" portion of FirstEnergy's website for any change

 in date, time, or format of the Settlement Fairness Hearing.

         3.      The Court expressly reserves the right to approve the Settlement with such

 modification(s) as may be consented to by the Settling Parties, or without modification, and with

 or without further notice of any kind to FirstEnergy stockholders. The Court reserves the right to

 enter its Judgment approving the Settlement and dismissing the Released Plaintiffs' Claims as

 against the Released Defendants' Persons regardless of whether the Court has awarded the Fee

 and Expense Award.

         4.      The Court approves the form, content, and requirements of the Notice, attached to

 the Stipulation as Exhibit D, and the Summary Notice, attached to the Stipulation as Exhibit E,

 and finds that the disseminationofthe Notice and publicationofthe Summary Notice, substantially

 in the manner and form set forth in this Order, meets the requirements of Rule 23.1 ofthe Federal

 Rules ofCivil Procedure, due process, and all other applicable law and rules, and constitutes due

 and sufficient notice of all matters relating to the Settlement.

        5.      By no later than five (5) business days after the date of entry of this Preliminary

 Approval Order, the Company (or its successor-in-interest) shall cause: (a) the filing with the SEC

 ofa Current Report on Form 8-K, attaching the Notice, substantially in the form attached as Exhibit

 D to the Stipulation, and the Stipulation; (b) the publication of the Summary Notice, substantially



                                                  -7-
Case: 2:20-cv-04813-ALM-KAJ Doc #: 176 Filed: 05/09/22 Page: 8 of 12 PAGEID #: 2860



 in the form attached as Exhibit E to the Stipulation, once in the Wall Street Journal, Investor's

 Business Daily,or similar publication; and (c) the posting of the Notice and the Stipulation on the

 "Investor Relations" portion of the Company's website, which documents shall remain posted

 thereto through the Effective Dateof the Settlement. The Company shall pay or cause to be paid

 any and all Notice Costs regardless of the form or manner of notice ordered by the Court and

 regardless of whether the Court approves the Settlement or the Effective Date of the Settlement

 otherwise fails to occur, and in no event shall Defendants, Plaintiffs, or their respective attorneys

 be responsible for any such costs or expenses.

        6.      By no later than twenty-one (21) calendar days before the Settlement Fairness

 Hearing, counsel for the SLC on behalf of the Company shall file with the Court an appropriate

 proof of compliance with the notice procedures set forth in this Order.

        7.      Any person or entity who owns shares of FirstEnergy common stock as ofthe close

 ofbusiness on the date of the Stipulation ("Current FirstEnergy Stockholder") and who continues

 to own shares of FirstEnergy common stock through the date of the Settlement Fairness Hearing

 may appear at the Settlement Fairness Hearing to show cause why the proposed Settlement should

 not be approved; why the Judgment should not be entered thereon; or why the application for an

 award ofattorneys' fees and expenses to Plaintiffs' Counsel and service awards to Plaintiffs should

 not be granted; provided, however, that no such person shall be heard or entitled to contest the

 approval of the terms and conditions of the proposed Settlement, the Judgment to be entered

 approving the same, or the application for an award of attorneys' fees and expenses to Plaintiffs'

 Counsel and service awards to Plaintiffs, unless such person has filed with the Clerk of the United

 States District Court for the Southern District of Ohio, 85 Marconi Boulevard, Columbus, Ohio

 43215, and delivered (by hand, first-class mail, or express service) to counsel at the addresses



                                                  -8-
Case: 2:20-cv-04813-ALM-KAJ Doc #: 176 Filed: 05/09/22 Page: 9 of 12 PAGEID #: 2861



 stated below, a written, signed objection that: (i) identifies the case name and case number for the

 Southern District Action, Employees Retirement System ofthe City ofSt. Louis, et al. v. Jones, et

 al., Case No. 2:20-cv-4813-ALM-KAJ; (ii) states the objector's name, address, and telephone

 number, and ifrepresented by counsel, the name, address, and telephone number ofhis, her, or its

 counsel; (iii) contains a representation as to whether the objector and/or his, her, or its counsel

 intends to appear at the Settlement Fairness Hearing; (iv) contains a statementof the objection(s)

 to any matters before the Court, the grounds for the objection(s) or the reasons for the objector's

 desiring to appear and be heard, as well as all documents or writings the objector desires the Court

 to consider, including any legal and evidentiary support; (v) if the objector has indicated that he,

 she, or it intends to appear at the Settlement Fairness Hearing,identifies any witnesses the objector

 may call to testify and any exhibits the objector intends to introduce into evidence at the Settlement

 Fairness Hearing; and (vi) includes documentation sufficient to prove that the objector owned

 shares of FirstEnergy common stock as of the close of business on the date of the Stipulation,

 together with a statement that the objector continues to hold shares of FirstEnergy common stock

 on the date offiling ofthe objection and will continue to hold shares ofFirstEnergycommon stock

 as of the date ofthe Settlement Fairness Hearing. Any such objection must be filed with the Court

 no later than fourteen (14) calendar days prior to the Settlement Fairness Hearing and delivered to

 each of the below-noted counsel such that it is received no later than fourteen (14) calendar days

 prior to the Settlement Fairness Hearing.

                      Co-Lead Counsel for the Southern District Plaintiffs

                                      Jeroen van Kwawegen
                           Bernstein Litowitz Berger & Grossmann LLP
                                    1251 Avenue of the Americas
                                        New York, NY 10020

                                                -and-
Case: 2:20-cv-04813-ALM-KAJ Doc #: 176 Filed: 05/09/22 Page: 10 of 12 PAGEID #: 2862



                                            Thomas Curry
                                          Saxena White P.A.
                                   1000 N. West Street, Suite 1200
                                         Wilmington, DE 19801

                              Representative Counsel for Defendants

                                           Geoffrey J. Ritts
                                             Jones Day
                                             North Point
                                         901 Lakeside Avenue
                                         Cleveland, OH 44114

                               Counsel for the SLC and FirstEnergy

                                           Maeve O'Connor
                                     Debevoise & Plimpton, LLP
                                          919 Third Avenue
                                    New York, New York 10022

         8.     Any person or entity who fails to object in the manner prescribed above shall be

 deemed to have waived such objectionand shall foreverbe foreclosed from making any objection

 to any aspect of the Settlement, the Judgment to be entered approving the Settlement, or the

 application for an award ofattorneys' fees and expenses to Plaintiffs' Counsel and service awards

 to Plaintiffs, in the Southern District Action or in any other action or proceeding in any court or

 tribunal.


         9.     The contents of the Settlement Fund shall be deemed and considered to be in

 custodia legis ofthe Court, and shall remain subject to the jurisdiction of the Court, until such time

 as they shall be transferred or disbursed from the Settlement Fund pursuant to the Stipulation

 and/or further order(s) of the Court.

         10.    Co-Lead Counsel for the Southern District Plaintiffs is authorized and directed to

 prepare any tax returns and any other tax reporting form for or in respect to the Settlement Fund,

 to pay from the Settlement Fund any Taxes owed with respect to the Settlement Fund, and to

 otherwise perform all obligations with respect to Taxes and any reporting or filings in respect

                                                 -10-
Case: 2:20-cv-04813-ALM-KAJ Doc #: 176 Filed: 05/09/22 Page: 11 of 12 PAGEID #: 2863



  thereof without further order of the Court in a manner consistent with the provisions of the

  Stipulation.

         11.     Plaintiffs shall file and serve papers in support of final approval of the proposed

  Settlement and in support of their application for the Fee and Expense Award by no later than

  twenty-eight (28) calendar days prior to the Settlement Fairness Hearing. If reply papers are

  necessary, they are to be filed and served by no later than seven (7) calendar days prior to the

  Settlement Fairness Hearing.

         12.     In the event the Settlement is terminated or the Effective Date does not occur for

 any reason, then: (i) the Settlement and the relevant portions of the Stipulation shall be canceled;

 (ii) the Settling Parties shall revert to their respective litigation positions in the Actions as of

 immediately prior to the execution of the Term Sheet on February 9,2022; and (iii) the terms and

 provisions of the Stipulation shall have no further force and effect with respect to the Settling

 Parties and shall not be used in the Actions or in any other proceeding for any purpose, and the

 Settling Parties shall proceed in all respects as if the Stipulation had not been entered.

         13.     Pursuant to the Court's Order dated February 11, 2022, all pleading deadlines,

 discovery, and other proceedings in the Southern District Action (except as may be necessary to

 carry out the terms and conditions of the proposed Settlement) have been stayed and suspended

 until further order of the Court.

         14.     The Court retains exclusive jurisdiction over the Southern District Action to

 consider all further matters arising out of or related to the Settlement.

         15.     Pending the Court's determination as to final approval ofthe Settlement, Plaintiffs,

 FirstEnergy, FirstEnergy stockholders, and anyone acting or purporting to act on behalf of

 FirstEnergy are hereby barred and enjoined from commencing or prosecuting any action asserting



                                                  •11-
Case: 2:20-cv-04813-ALM-KAJ Doc #: 176 Filed: 05/09/22 Page: 12 of 12 PAGEID #: 2864



  any of theclaims alleged in theSouthern District Action against anyof the Defendants inanycourt

  or tribunal; provided, this prosecution bar shall not extend to the Northern District Action, nor to

  the State Court Action, unless those courts agree to stay their respective cases; and further

 provided, all forms and notices approved herein shall be updated as necessary to reflect the

  accurate scope of this prosecution bar.

         IT IS SO ORDERED.




                                                ALGENOi
                                               CHIEF           ED STATES DISTRICT JUDGE


  DATED: May ^ , 2022




                                                 •12-
